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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 20-mj-02766-LOUIS


 UNITED STATES OF AMERICA,

               Plaintiff,

 v.

 FRANCISCO JUNIOR LOUIS,

               Defendant.

 ______________________________/


                                    DETENTION ORDER

        Pursuant to 18 U.S.C. § 3142(f), on January 11, 2021, a hearing was held to

 determine whether defendant FRANCISCO JUNIOR LOUIS should be detained prior to

 trial. Having considered the factors enumerated in 18 U.S.C. § 3142(g), this Court finds

 that no condition or combination of conditions will reasonably assure the appearance of

 the defendant as required and the safety of any other person and the community.

 Therefore, it is hereby ordered that the defendant FRANCISCO JUNIOR LOUIS be

 detained prior to trial and until the conclusion thereof.

        In accordance with the provisions of 18 U.S.C. § 3142(i), the Court hereby

 makes the following findings of fact and statement of reasons for the detention:

        1.      The defendant is charged by criminal complaint, in the Southern District

 of Florida, with Hobbs Act robbery in violation of Title 18, United States Code, Section

 1951 and using, carrying or brandishing a firearm in furtherance of a crime of violence
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 in violation of Title 18, United States Code, Section 924(c). Therefore, the defendant is

 charged with a crime of violence, resulting in a rebuttable presumption that no condition

 or combination of conditions will reasonably assure the appearance of the defendant at

 all future court proceedings and the safety of any other person and the community. Title

 18, United States Code, Section 3142(e) and (f).

       2.     The weight of the evidence against the defendant is substantial. The

 government has proffered that in April 2020, the defendant participated in six robberies

 in the span of approximately nine days. The defendant used a firearm in all six

 robberies, pointing the firearm at victims in some instances. During one of these

 robberies, the defendant “racked” the firearm before pointing it at a victim. After he was

 confronted by law enforcement officers, the defendant fled. Law enforcement officers

 searched the area where the defendant fled and recovered a satchel containing a

 firearm for which a receipt was found at the defendant’s home.

       The defendant’s mother identified the defendant in photographs or videos taken

 during some of the robberies.

       The defendant left the state of Florida shortly after the robberies.

       3.     The pertinent history and characteristics of the defendant support pretrial

 detention. The defendant was born on June 22, 1986, in Nassau, Bahamas and is a

 citizen of Haiti. The defendant has been arrested 14 times in 19 years, including arrests

 for armed burglary, kidnaping, aggravated assault with a deadly weapon and battery.

 Title 18, United States Code, Section 3142(g)(3)(A).



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        4.     The undersigned believes that the defendant would not appear if released

 on bond. The defendant left the state shortly after the robberies and is a Haitian citizen.

 The Court specifically finds, by a preponderance of the evidence, that there are no

 conditions or combination of conditions which reasonably will assure the defendant's

 appearance as required.

        5.     Based on the defendant's participation in six robberies in a short period of

 time, the defendant’s use of a firearm in each of those robberies, including in one

 instance “racking” the firearm before pointing it at a victim and in other instances

 pointing the firearm at victims, the defendant constitutes a danger to persons in the

 community. The Court specifically finds by clear and convincing evidence, there are no

 conditions or combinations of conditions which will reasonably assure the safety of

 other persons and the community.

        The Court hereby directs:

               (a) That the defendant be committed to the custody of the Attorney

 General for confinement in a corrections facility separate, to the extent practical, from

 persons awaiting or serving sentences or being held in custody pending appeal;

               (b) That the defendant be afforded reasonable opportunity for private

 consultation with counsel; and

               (c) That, on order of a court of the United States or on request of an

 attorney for the Government, the person in charge of the corrections facility in which the




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 defendant is confined deliver the defendant to a United States Marshal for the purpose

 of an appearance in connection with a court proceeding.

         DONE AND ORDERED at Miami, Florida, this 12th day of January, 2021.



                                         ____________________________________
                                         JOHN J. O'SULLIVAN
                                         UNITED STATES MAGISTRATE JUDGE




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